            Case:
ILND 450 (Rev.        1:15-cv-03702
               10/13) Judgment                Document #: 289 Filed: 08/07/18 Page 1 of 1 PageID #:17267
                               in a Civil Action


                               IN THE UNITED STATES DISTRICT COURT
                                             FOR THE
                                  NORTHERN DISTRICT OF ILLINOIS

Shuffle Tech International LLC, et al.,

Plaintiff(s),
                                                          Case No. 15 C 3702
v.                                                        Judge Matthew F. Kennelly

Scientific Games Corporation et al.,

Defendant(s).

                                          JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                in favor of plaintiff(s)
                and against defendant(s)
                in the amount of $       ,

                       which      includes       pre–judgment interest.
                                  does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                in favor of defendant(s)
                and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


                other: Judgment is entered against defendants, Scientific Games Corp., Bally Technologies, d/b/a
Shuffle Master and SHFL Entertainment, and Bally Gaming, Inc., jointly and severally, in favor of Shuffle Tech
International, LLC in the amount of $135,000,000.00, in favor of Poydras-Talrick Holdings, LLC in the amount
of $75,000,000.00, in favor of Aces Up Gaming, Inc. in the amount of $45,000,000.00, and in favor of Shuffle
Tech International LLC as assignee of DigiDeal Corp. in the amount of $60,000,000.00.

This action was (check one):

     tried by a jury with Judge Matthew F. Kennelly presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge       on a motion

Date: 8/7/2018                                        Thomas G. Bruton, Clerk of Court

                                                       Pamela J. Geringer, Deputy Clerk
